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 1   Nicholas M. Wajda (Cal. Bar No. 259178 )
     WAJDA LAW GROUP, APC
 2   6167 Bristol Parkway
 3   Suite 200
     Culver City, California 90230
 4   +1 310-997-0471
     nick@wajdalawgroup.com
 5
     Attorney for the Plaintiff
 6

 7                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
 8
      CAROL A. LENZINI, individually, and on Case No. 3:20-cv-09053
 9    behalf of all others similarly situated,
10                                             CLASS       ACTION   COMPLAINT  FOR
                          Plaintiff,
                                               DAMAGES
11           v.
                                               1. VIOLATIONS OF THE FAIR DEBT
12                                             COLLECTION PRACTICES ACT, 15 U.S.C. §
      VALENTINE & KEBARTAS, LLC,               1692 et seq.
13
                         Defendant.                2. VIOLATIONS OF THE ROSENTHAL
14
                                                   FAIR DEBT COLLECTION PRACTICES
15                                                 ACT, CAL. CIV. CODE §1788 et seq.

16                                                 JURY TRIAL DEMANDED
17         NOW COMES, CAROL A. LENZINI, individually, and on behalf of all others similarly
18
     situated, through counsel, WAJDA LAW GROUP, APC, complaining of VALENTINE &
19
     KEBARTAS, LLC, as follows:
20
                                       NATURE OF THE ACTION
21

22          1.      This action is seeking redress for VALENTINE & KEBARTAS’ violation(s) of the

23   Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq. and the Rosenthal Fair

24   Debt Collection Practices Act (“RFDCPA”), Cal. Civ. Code § 1788 et seq.
25                                    JURISDICTION AND VENUE
26
            2.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.
27
            3.      This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367.
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                                                      1
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 1          4.      Venue in this district is proper under 28 U.S.C. § 1391(b)(2).
 2                                                PARTIES
 3
            5.      CAROL A. LENZINI (“Plaintiff”) is a natural person, over 18-years-of-age, who at
 4
     all times relevant resided in Cloverdale, California.
 5
            6.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
 6

 7          7.      Plaintiff is a “consumer” as defined by Cal. Civ. Code § 1788.2(h).

 8          8.      VALENTINE & KEBARTAS, LLC (“Defendant”) is a professional limited liability

 9   company organized under the laws of Massachusetts.
10
            9.      Defendant maintains its principal place of business at 15 Union Street, #202,
11
     Lawrence, Massachusetts 01840.
12
            10.     Defendant specializes in debt collection and collects debts on behalf of others
13
     nationwide.
14

15          11.     Defendant is a “debt collector” as defined by 15 U.S.C. §1692a(6) because (1) it

16   uses instrumentalities of interstate commerce and the mail in the course of collecting consumer
17   debt; (2) the principal purpose of Defendant’s business is the collection of debt owed or due or
18
     asserted to be owed or due another; and (3) it regularly collects consumer debt owed to others.
19
                                       FACUTAL ALLEGATIONS
20
            12.     At some point, Plaintiff obtained a personal credit card through Credit One Bank,
21

22   N.A. (“Credit One”).

23          13.     Plaintiff made various charges for personal purposes on the Credit One credit card,

24   amassing a balance.
25          14.     Due to unforeseen financial difficulties, Plaintiff fell behind on her monthly
26
     payments to Credit One.
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                                                        2
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 1          15.     Eventually, Plaintiff’s account fell into default status with an unpaid balance
 2   (“subject debt”).
 3
            16.     The subject debt is a “debt” as defined by 15 U.S.C. § 1692a(5) because it was
 4
     incurred for personal, family, or household purposes.
 5
            17.     Shortly thereafter, upon information and belief, LVNV Funding LLC purchased the
 6

 7   subject debt from Credit One and placed the subject debt with Defendant for collection.

 8          18.     On November 13, 2020, Defendant sent Plaintiff a collection letter seeking to collect

 9   the subject debt (“Collection Letter”).
10
            19.     The Collection Letter stated, in part, as follows:
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                                        INTENTIONALLY LEFT BLANK
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            20.    The Collection Letter proposed to resolve the subject debt in multiple ways, offering
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26   a discount of 40%, 30%, 20%, or to make nine payments over time.

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                                                      4
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 1            21.   Specifically, the Collection Letter stated: “This letter is to inform you of a special
 2   offer on the collection account listed above.”
 3
              22.   The Collection Letter created a false sense of urgency to pay because it implied that
 4
     the offer had certain expiration dates, when in reality the offer was (1) perpetual and (2) extended
 5
     to hundreds of similarly situated consumers, and thus was by no means a “special offer.”
 6

 7            23.   As a result of the language contained in the Collection Letter, Plaintiff was misled

 8   into believing that the “special offer” would expire on November 30, 2020, thus creating a false

 9   sense of urgency to accept the offer before it expired.
10
              24.   Defendant deliberately designed the language contained in the Collection Letter to
11
     create a false sense of urgency and coerce Plaintiff into making a prompt payment on the subject
12
     debt to avoid missing out on the “special offer.”
13
                                                 DAMAGES
14

15            25.   There is no question that having clear, unambiguous information regarding payment

16   of a debt is of substantive value and material to Plaintiff’s financial affairs. See Hahn v. Triumph
17   P’ships LLC, 557 F.3d 755, 757 (7th Cir. 2009) (“The [FDCPA] is designed to provide information
18
     that helps consumers to choose intelligently ...”).
19
              26.   Without this critical information, Plaintiff ran the risk of making a payment that may
20
     not satisfy the subject debt completely or in a time frame that would subject Plaintiff to different
21

22   terms.

23            27.   The value of receiving unambiguous and complete information about one’s financial

24   affairs—and the ill effects of receiving ambiguous or misleading information—may be hard to
25   quantify, but it is nevertheless a concrete harm. See Haddad v. Midland Funding, LLC, 255 F. Supp.
26
     3d 735, 739 (N.D. Ill. 2017).
27

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                                                           5
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 1           28.     Based on the foregoing, Plaintiff was deprived of her right to receive critical
 2   information required by the FDCPA and was harmed as a result thereof.
 3
                                           CLASS ALLEGATIONS
 4
             29.     All paragraphs of this Complaint are expressly adopted and incorporated herein as
 5
     though fully set forth herein.
 6

 7           30.     Plaintiff brings this action pursuant to and Fed. R. Civ. P. 23, individually, and on

 8   behalf of all others similarly situated (“Putative Class”).

 9           31.     The Putative Class is defined as follows:
10
                        All natural persons residing in the State of California (a) that received a
11                      correspondence from Defendant containing similar settlement language
                        described above; (b) within the one (1) year preceding the date of this
12                      complaint through the date of class certification; and (c) in connection
                        with the collection of a consumer debt owed to LVNV Funding.
13

14
             32.     The following individuals are excluded from the Putative Class: (1) any Judge or
15
     Magistrate presiding over this action and members of their families; (2) Defendant, Defendant’s
16
     subsidiaries, parents, successors, predecessors, and any entity in which Defendant or their parents
17
     have a controlling interest and their current or former employees, officers and directors; (3)
18

19   Plaintiff’s attorneys; (4) persons who properly execute and file a timely request for exclusion from

20   the Putative Class; (5) the legal representatives, successors or assigns of any such executed persons;
21   and (6) persons whose claims against Defendant have been fully and finally adjudicated and/or
22
     released.
23
             A.      Numerosity:
24
             33.     Upon information and belief, Defendant mailed hundreds of letters with the identical
25

26   format and language as the letter described above to consumers in California.

27           34.     The exact number of members of the Putative Class are unknown and not available

28   to Plaintiff at this time, but it is clear that individual joinder is impracticable.
                                                             6
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 1            35.   Members of the Putative Class can be objectively identified from records of
 2   Defendant to be gained in discovery.
 3
              B.    Commonality and Predominance:
 4
              36.   There are many questions of law and fact common to the claims of Plaintiff and the
 5
     Putative Class, and those questions predominate over any questions that may affect individual
 6

 7   members of the Putative Class.

 8            C.    Typicality:

 9            37.   Plaintiff’s claims are representative of the claims of other members of the Putative
10
     Class.
11
              38.   Plaintiff’s claims are typical of members of the Putative Class because Plaintiff and
12
     members of the Putative Class are entitled to damages as result of Defendant’s conduct.
13
              D.    Superiority and Manageability:
14

15            39.   This case is also appropriate for class certification as class proceedings are superior

16   to all other available methods for the efficient and fair adjudication of this controversy.
17            40.   The damages suffered by the individual members of the Putative Class will likely
18
     be relatively small, especially given the burden and expense required for individual prosecution.
19
              41.   By contrast, a class action provides the benefits of single adjudication, economies
20
     of scale and comprehensive supervision by a single court.
21

22            42.   Economies of effort, expense, and time will be fostered and uniformity of decisions

23   ensured.

24            E.    Adequate Representation:
25            43.   Plaintiff will adequately and fairly represent and protect the interests of the Putative
26
     Class.
27

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                                                        7
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 1           44.    Plaintiff has no interests antagonistic to those of the Putative Class, and Defendant
 2   has no defenses unique to Plaintiff.
 3
             45.    Plaintiff has retained competent and experienced counsel in consumer class action
 4
     litigation.
 5
                                          CLAIMS FOR RELIEF
 6                      Count I – Violations of Sections 1692e and e(10) of the FDCPA
 7                    (On behalf of Plaintiff, individually, and Members of the Putative Class)

 8           46.    Plaintiff restates and incorporates all paragraphs as if fully set forth herein.

 9           47.    Pursuant to §1692e of the FDCPA, a debt collector is prohibited from making “any
10
     false, deceptive, or misleading representation” in connection with the collection of a debt. 15 U.S.C.
11
     § 1692e.
12
             48.    Section 1692e(10) of the FDCPA prohibits a debt collector from using any false
13
     representation or deceptive means to collect or attempt to collet any debt. 15 U.S.C. § 1692e(10).
14

15           49.    The Collection Letter violated 15 U.S.C. §§1692e and e(10) by falsely implying that

16   the discount offer was only open for a limited amount of time when in reality it was open
17   perpetually and was in no way unique to Plaintiff.
18
             50.    Specifically, the Collection Letter was misleading because Defendant’s offers to
19
     settle the subject debt were extended to hundreds of similarly situated consumers, and thus were by
20
     no means “special offer[s]” (emphasis added).
21

22           51.    As a result of the language contained in the Collection Letter, Plaintiff was misled

23   into believing that the “special offer” was unique to her and would expire imminently, thus creating

24   a false sense of urgency to make payment in the offered amount before the offer expired.
25           52.    As the Seventh Circuit in Evory v. RJM Acquisitions Funding, L.L.C., 505 F.3d 769,
26
     775 (7th Cir. 2007) eloquently explained:
27
            “There is nothing improper about making a settlement offer. The concern is that
28   unsophisticated consumers may think that if they don't pay by the deadline, they will have no
                                                        8
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 1   further chance to settle their debt for less than the full amount; for the offers are in the idiom of
     limited-time or one-time sales offers, clearance sales, going-out-of-business sales, and other
 2   temporary discounts. In fact debt collectors, who naturally are averse to instituting actual
     collection proceedings for the often very modest sums involved in the consumer debt collection
 3   business, frequently renew their offers if the consumer fails to accept the initial offer.” Id.
 4
             53.     Notably, the Collection Letter did not contain judicially created safe harbor
 5
     language pertaining to settlement offers by debt collectors such as “[w]e are not obligated to renew
 6
     any offers provided,” which was designed to balance the interests of consumers and debt collectors.
 7
     Id. at 776.
 8

 9           WHEREFORE, Plaintiff, CAROL A. LENZINI, individually, and on behalf of all others

10   similarly situated respectfully requests that this Honorable Court enter judgment in her favor as
11   follows:
12
             a.        Declaring that the practices complained of herein are unlawful and violate Sections
13                     1692e and e(10) of the FDCPA;
14           b.        Awarding Plaintiff statutory and actual damages, in an amount to be determined at
15                     trial, for the underlying FDCPA violations;

16           c.        Awarding Class Members statutory damages;
             d.        Awarding Plaintiff costs and reasonable attorney’s fees pursuant to 15 U.S.C.
17
                       §1692k; and
18
             e.        Awarding any other relief as the Honorable Court deems just and proper.
19
                                  Count II – Violations of §1788.17 of the RFDCPA
20
                                             (On behalf of Plaintiff only)
21
             54.     Plaintiff restates and incorporates all paragraphs as if fully set forth herein.
22
             55.     California Civil Code § 1788.17 provides:
23
            Notwithstanding any other provision of this title, every debt collector collecting or
24   attempting to collect a consumer debt shall comply with the provisions of Section 1692b
25   to 1692j [of the FDCPA], inclusive, of, and shall be subject to the remedies in Section
     1692k of, Title 15 of the United States Code.
26
             56.     As stated above, Defendant violated 15 U.S.C. §§ 1692e and e(10), therefore
27
     violating Cal. Civ. Code § 1788.17.
28
                                                            9
       Case 4:20-cv-09053-KAW Document 1 Filed 12/16/20 Page 10 of 10



 1
             WHEREFORE, Plaintiff, CAROL A. LENZINI, respectfully requests that this Honorable
 2

 3   Court enter judgment in her favor as follows:

 4               a. Declaring that the practices complained of herein are unlawful and violate the
 5                   RFDCPA;
 6
                 b. Awarding Plaintiff statutory and actual damages, in an amount to be determined at
 7
                     trial, for the underlying RFDCPA violations;
 8
                 c. Awarding the Plaintiff costs and reasonable attorney fees; and
 9

10               d. Awarding any other relief as the Honorable Court deems just and proper.

11                                      DEMAND FOR JURY TRIAL

12           Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of any and all issues in
13   this action so triable of right.
14
     DATED: December 16, 2020                                       Respectfully submitted,
15
                                                                    CAROL A. LENZINI
16
                                                                    By: /s/ Nicholas M. Wajda
17

18                                                                  Nicholas M. Wajda
                                                                    WAJDA LAW GROUP, APC
19                                                                  6167 Bristol Parkway
                                                                    Suite 200
20                                                                  Culver City, California 90230
                                                                    +1 310-997-0471
21
                                                                    nick@wajdalawgroup.com
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